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 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10

11   RONDEL DELBERT GARDNER,                      )   No. LA CV 20-04998-VBF (AGR)
                                                  )
12                       Petitioner,              )
                                                  )   JUDGMENT
13                v.                              )
                                                  )
14   DEBBIE ASUNCION, et al.,                     )
                                                  )
15                       Respondent.              )
                                                  )
16

17
           IT IS ADJUDGED that the Petition For Writ of Habeas Corpus is dismissed
18
     without prejudice to Petitioner’s ability to file a separate civil rights action.
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     DATED: September 18, 2020
22
                                                             Hon. VALERIE BAKER FAIRBANK
23                                                           Senior United States District Judge
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